                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                  BROWNSVILLE DIVISION


J.A.V., et al.,

                         Petitioner.


        v.                                                     Civil Action No. 1:25-cv-072



DONALD J. TRUMP, et al.,

                         Respondents.




                  DECLARATION OF ASSISTANT FIELD OFFICE DIRECTOR
        Pursuant to the authority of 28 U.S.C. § 1746, I, Carlos D. Cisneros, an Assistant Field
Office Director for U.S. Department of Homeland Security (DHS), United States Immigration
and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), Harlingen,
Texas (TX) declare as follows:
        1.        I am an Assistant Field Office Director (“AFOD”) for U.S. Department of
Homeland Security, United States Immigration and Customs Enforcement, Enforcement and
Removal Operations (“ICE ERO Harlingen”). I began my employment with ICE (Legacy
Immigration and Naturalization Service) on January 18, 2000, and I have been serving as the
AFOD for ICE ERO Harlingen since August 28, 2022.
        2.        In my role as AFOD, I oversee ERO enforcement operations for the Harlingen
Office. As an AFOD, I am responsible for the supervision of deportation officers managing
detained cases in Harlingen, Texas. I am also responsible for overseeing the safety, security and
care of individuals in my custody.
        3.        While preparing this declaration, I have examined the official records available to
me regarding the Alien Enemies Act (AEA) notice procedure. I submit this declaration to outline
the notice procedure and to inform the court about why a description of the procedure should be
kept under seal.
A.     The Notice
       4.      Attached as an exhibit to this declaration is a copy of Form AEA-21B, which ICE
officers serve on aliens whom the Agency intends to detain or remove pursuant to the AEA. Each
alien is served individually, and the Form AEA-21B is read and explained to each alien in a
language that alien understands.
       5.      Consistent with a Notice to Appear in Title 8 proceedings, the Form AEA-21B is
written in the English language. However, it is read and explained to each alien in a language
that alien understands. ICE officers are accustomed to working with aliens who do not
understand English.
       6.      Through an ICE-wide contract with a language assistance vendor (i.e. language
lines), ICE uses professional oral interpretation and translation services that cover more than 200
languages, including rare and Indigenous languages. Enforcement and Removal Operations
(ERO) serves as the Contracting Officer Representative for this ICE-wide language services
contract. Centralizing oversight over the contract allows better coordination with the vendor and
the establishment of processes for obtaining regular reports. Additionally, many ERO staff have
sufficient proficiency in one or more languages other than English and communicate with limited
English proficiency (LEP) persons in their primary language when appropriate.
       7.      Pursuant to ICE detention standards, oral interpretation or assistance is provided
to any detained alien who is illiterate or who speaks another language in which written material
has not been translated.
       8.      The various ICE Detention Standards under which detention facilities operate
require that information be provided to LEP persons in a language or manner they can
understand throughout the detention process to provide them with meaningful access to programs
and services. This may be accomplished through use of bilingual staff or professional
interpretation and translation services. Depending on the type of facility and contract
specifications, the contractor may have and use their own dedicated language line.
B.     Habeas Components to the Process
       9.      The alien is served individually with a copy of the Notice, Form AEA 21-B, the
notice is read to the alien in a language that he or she understands.
       10.     As part of the notice procedure, the alien is informed that he or she can make a
telephone call to whomever he or she desires, including legal representatives. ICE ensures that
telephones are made available for the aliens and that the aliens have access to the telephone lines.
       11.      Although there may be fact-specific exceptional cases, in a general case, after an
alien is served with Form AEA 21-B, the alien is given a reasonable amount of time, and no less
than 12 hours, including the ability to make a telephone call, to indicate or express an intent to
file a habeas petition. If the alien does not express any such intention, then ICE may proceed
with the removal, though such removal may not actually occur for many more hours or days,
giving the alien additional time to express an intent. If the alien does express an intent to file a
habeas petition, the alien is given a reasonable amount of time, and no less than 24 hours, to
actually file that petition. If the alien does not file such a petition within 24 hours, then ICE may
proceed with the removal, though such removal may not actually occur for many more hours or
days, giving the alien additional time to file the petition. Further, because aliens subject to the
AEA are often detained for several days before removal, they frequently have much more time to
express an intent to file a habeas petition or to actually file such a petition. Moreover, these
timeframes are consistent with, if not more generous than, the timeframes used for expedited
removal procedures under Title 8.
       12.      In nearly every case in which an alien files a habeas petition based on detention
related to the AEA, the alien also seeks a Temporary Restraining Order (TRO). The TRO request
is typically adjudicated quickly, sometimes within hours of being filed. Although there may be
fact-specific exceptional cases, in a general case, ICE will not remove under the AEA an alien
who has filed a habeas petition while that petition is pending. However, ICE may reconsider that
position in cases where a TRO has been denied and the habeas proceedings have not concluded
within a reasonable time.
C.     Justification for Sealing the Description of the Notice Procedure
       13.     The internal notice procedure outlined in this declaration should be filed and
remain under seal because this process is law enforcement sensitive. In this circumstance,
revealing our notice procedure would disclose to the public guidelines that are integral to
conducting law enforcement investigations and could risk circumvention of the law.



Signed this _______ day of April 2025.
                Digitally signed by
CARLOS D        CARLOS D CISNEROS
                JR
CISNEROS JR     Date: 2025.04.23
                13:59:11 -05'00'

Carlos D. Cisneros
Assistant Field Office Director
Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement
